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            IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

IN RE:                                 :
                                             CHAPTER 13
MILLARD COURTNEY FARMER, :                   CASE NO. 18-52363-JWC
JR.,

            Debtor.                    :

                       WITHDRAWAL OF OBJECTION



      COMES NOW, Debtor, and withdraws his objection to proof of claim

(Docket #37).




                                                   Respectfully submitted,

                                                   /s/ Ralph Goldberg
                                                   Ralph Goldberg
                                                   Georgia Bar No. 299475
                                                   Attorney for Debtor
Goldberg & Cuvillier, P.C.
1400 Montreal Road, Suite 100
Tucker, Georgia 30084-6919
(770) 670-7343
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attorneygoldberg@hotmail.com
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                          CERTIFICATE OF SERVICE

      This is to certify that I have this day served debtor, creditors and Trustee in

the foregoing matter with a copy of this document by depositing in United States

Mail copies of the same in properly addressed envelopes with adequate postage

thereon or by notification of electronic filing to:

                            Millard Courtney Farmer, Jr.
                                 1196 DeKalb Ave
                                 Atlanta, GA 30307

                     Nancy J. Whaley, Standing Ch. 13 Trustee
                          303 Peachtree Center Avenue
                         Suite 120, Suntrust Garden Plaza
                                Atlanta, GA 30303

                                  Julie M. Anania
                                  Nancy J. Whaley
                              Standing Ch. 13 Trustee
                                      Suite 120
                            303 Peachtree Center Avenue
                              Atlanta, GA 30303-1286

                                     City of Atlanta
                                   Office of Revenue
                               55 Trinity Ave, Suite 1350
                                   Atlanta, GA 30303

                         DeKalb County Tax Commissioner
                          4380 Memorial Drive, Suite 100
                                Decatur, GA 30032

                                John Harold Murphy
                       Kilpatrick Townsend & Stockton LLP
                          Attn: Colin M. Bernardino, Esq.
                        1100 Peachtree St. NE, Suite 2800
                                 Atlanta, GA 30309
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              LVNV Funding, LLC its successors and assigns as
                       assignee of Citibank, N.A.
                      Resurgent Capital Services
                             PO Box 10587
                      Greenville, SC 29603-0587

                             Resurgent Capital Services
                                  P.O. Box 10587
                               Greenville, SC 29603

                                   Wilmer Parker
                                     Suite 910
                               1360 Peachtree Street
                              Atlanta, Ga. 30309-3287

                          Collin Michael Bernardino
                     Kilpatrick Townsend & Stockton LLP
                          1100 Peachtree Street, N.E.
                            Atlanta, Ga. 30309-4530

                             This 16th day of May, 2019.

                                                   /s/ Ralph Goldberg
                                                   Ralph Goldberg
                                                   Georgia Bar No. 299475
Goldberg & Cuvillier, P.C.                         Attorney for Defendant
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